                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                3:04-cr-00295-RJC-DCK

 USA,                                            )
                                                 )
                   Plaintiff,                    )              ORDER
                                                 )
         vs.                                     )
                                                 )
 MELVIN BURNS (2),                               )
           Defendant.                            )




        THIS MATTER is before the Court upon motion of the defendant pro se requesting that

the Court modify its sentence or recommend that the United States dismiss its Information under

21 U.S.C. § 851. (Doc. No. 170).

        Although the defendant admits he is not eligible to benefit from retroactive changes to

drug statutes and sentencing guidelines, he claims it would be in the interest of justice for the

Court to alter its sentence nunc pro tunc or to recommend that the government take action to

achieve “a more just sentence in light of today’s law.” (Id. at 1). The defendant provides no

relevant legal authority for the Court to modify its judgment, which became final years ago, or to

direct the government to take action on his behalf.

        IT IS, THEREFORE, ORDERED that the defendant’s motion, (Doc. No. 170), is

DENIED.


                                               Signed: July 13, 2016




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